Case 8:23-cv-01867-SDM-CPT Document 1 Filed 08/18/23 Page 1 of 41 PagelD 1

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

spe District of Temion

a
jAMDA Division

CaseNo. B24 cv - |[Sb7- SSM- COT

(to be filled in by the Clerk's Office)

“Thee. ee

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

Jury Trial: (check one) [| Yes [_|No

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lhmeryy ( “OCLAno

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint |
A. The Plaintiff(s) |

Provide the information below for each plaintiff named in the complaint. Attach additional pages if |

needed. Biss. Wj
Name \pPOye

Street Address \\ 75 avy B~woe
City and County GEmuwoLz
State and Zip Code fi. DRIOA 223712

Telephone Number ST) « ieee. Si44
E-mail Adress Dros Sunvp 01 Cm. Coe

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (i/known). Attach additional pages if needed.

Page | of 5
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Defendant No. 1

—

Name i mot} YRermio ee
Job or Title (if known) . Rees Swe} oe
Street Address youl Hes Ave

City and County Ven Yor (fo -

State and Zip Code New Yor)

Telephone Number ZAZ “Rt ’ 2Ace

E-mail Address (if known)

Defendant No. 2

Name Deze Weuupee,

Job or Title (fknown) . Bed Bsn? |
Street Address ZAZA Wrstre Wey oO | oo |
City and County Le 0S AucernS . |
State and Zip Code 7 Caufeime

Telephone Number we heed 7255

E-mail Address (if known)

Defendant No. 3

Name - ssi Viernes |
Job or Title (if known) Reon Snel?
Street Address t2 Tip WS. Sr - |
City and County Vere T |
State and Zip Code Mr: CriQ@Khyr

Telephone Number oO 257 - DEO _ |

E-mail Address (if known)

Defendant No. 4

Nas (Sreecorey \Voowes |

Job or Title (if known) B.sof- . . |
Street Address ES oe NOTH Aue tO

City and County oT WEXENEBORC

State and Zip Code - Freier ae | a S -
Telephone Number “721+ Fad ~My L\

E-mail Address (if known)

Page 2 of $
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Pro Se | (Rev. 12/16) Complaint for a Civil Case

Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

[_ ]Federal question [J Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

THe 1 Deion, Wel , (OT), 2241-2247
2232. P\,C .F

B. If the Basis for Jurisdiction Is Diversity of Citizenship

l. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) . , is a citizen of the

State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) ,

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual
The defendant, fame) , is a citizen of
the State of (name) . Oris acitizen of

(foreign nation)

Page 3 of 5
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

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III.

IV.

b. If the defendant is a corporation
The defendant, (name)
the laws of the State of (name)
principal place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name)

, is incorporated under

, and has its

(If more than one defendant is named in the complaint, attach an additional page providing the

same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include

the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any |
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served, I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Signature of Plaintiff

Printed Name of Plaintiff

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number

E-mail Address

Page 5 of 5
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Case 8:23-Cv-01867-SDM-CPT Document 1 Filed 08/18/23 Page 12 of 41 PagelD 12

ARCHDIOCESE OF CHICAGO

CONSOLIDATED STATEMENTS OF FINANCIAL POSITION

AS OF JUNE 30, 2019 AND 2018
{Dollars in thousands)

ASSETS
CASH AND CASH EQUIVALENTS

RESTRICTED CASH
INVESTMENTS

“* RECEIVABLES:

Notes, accounts, and pledges
recelvable—net
Cemetery Installment contracts

Total receivables

CEMETERY PROPERTY—Ready and
available for use

LAND, BUILDINGS, AND EQUIPMENT:
Undeveloped realty
Land

Buildings and equipment
Construction In progress

Total land, buildings, and equipment
Less accumulated depreciation
Land, bulldings, and equipment—net

OTHER ASSETS
TOTAL

See independent accountants’ review report and notes to consolidated financial statements.

2019 2018
$ 240,739 4 227,071
72,166 18,745
1,928,456 1,905,239
153,266 _ 170,098
43,277 41,987
196,543 212,085
55,571 55,432
26,072 26,072
248,337 254,953
2,751,273 2,712,810
11,724 5,218
3,037,403 2,999,053
(1,737,611)  _(4,677,250)
“1,299,792 1,321,803
31,203 26,618

$ 3,824 470 $3,766,993

%

2019 2018
LYABELITIES AND NET ASSETS
LIABILITIES:
Accounts payable and accrued expenses $ 242,492 $ 240,138
Deferred revenue 193,884 187,981
Deposits 2,161 2,605
Borrowings (less debt Issuance costs of $1,559 ,
and $1,840 for 2019 and 2018, respectively) 195,162 215,684
Insurance claims 166,082 - 156,188
Unearned rental income 15,876 16,094
Accrued pension cost 153,151 143,896
Postretirement liabilities 182,614 175,948
Asset retirement obligations 76,288 75,129
Accrued cemetery maintenance costs 539,733 510,327
Refundable grant advances 154,395 154,395
Total liabilities 1,921,838 1,878 385
NET ASSETS:
Without donor restrictions:
Undesignated (149,582) (237,894)
Daslgnated 1,827,836 1,900,342
Total without donor restrictions 1,678,254 1,662,448
With donor restrictions:
Temporary In nature 158,527 161,124
Perpetuai In nature 65,851 65,036
Total with donor restrictions 224,378 226,160

Tota! net assets
TOTAL

® 7,54 |,AC3,082 “Bune

1,902,632 4 1,888,608
$3,824,470 $3,766,993

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Case 8:23-cv-0186/7-SDM-CPT Document 1 Filed 08/18/23 Page 13 of 41 PageID 13

ARCHDIOCESE OF ST. LOUIS

COMBINED STATEMENT OF FINANCIAL POSITION
AS OF JUNE 30, 2020 AND 2019

{in thousands)
2019 2020 2n19
ASSETS LIABILITIES AND NET ASSETS
CASH AND CASH EQUIVALENTS 5 22600 $ 37,472 ACCOUNTS PAYABLE AND ACCRUED EXPENSES $ 14508 $ 15,713
RESTRICTED CASH AND INVESTMENTS 6320 $726 CLAIMS PAYABLE 8,588 10,827
INVESTMENTS TIGA3t 748,026 § DEFERREDREVENUES 14,051 15,429
RECEIVABLE ON UNSETTLED INVESTMENT SALES 371 2485 = ACCRUED FUTURBCARE COSTS 63,173 59,822
ACCOUNTS RECEIVABLE — Net of allowance for doubtficl ' DUE TO ARCHDIOCESAN PARISHES AND OTHER,
accounts of $3,844 in 2020 and $2,731 in 2019 6515 8.210 CATHOLIC ORGANIZATIONS 9,047 8,942
GRANTS, FLEDGES AND BEQUESTS RECEIVABLE — Net of DEPOSIT LIABILITIES 166,199 163,079
allowance for doubtful accounts of $660 in 2020 and $615 in 2019 10,884 13,203 :
PAYABLE ON UNSETILED INVESTMENT PURCHASES 4,936 18,000
LOANS TO ARCHDIOCESAN PARISHES AND OTHER CATHOLIC
ORGANIZATIONS — Net of ellowancn for lean louse NOTES PAYABLE — Net of umamortized debt issuance costs
Of $4,511 in 2020 and $3,779 in 2019 13,934 14,676 of $876 in 2020 and $501 in 2019 69,349 61,128
OTHER NOTES RECEIVABLE — Net of allowances for dovbtiii] REFUNDABLE ADVANCES 15,940 15,002
sevounts of $296 in 2020 end $276 in 2019 106 109
PRIESTS’ RETIREMENT LIABILITY 143,988 142,250
DUE FROM ARCHDIOCESAN PARISHES — Net of allowance for
doubtfol accoants of $10,830 in 2020 and $8,673 in 2019 2,268 8330s OTHER LIABILITIES 19,983 20,011
CEMETERY LAND AND IMPROVEMENTS AVAILABLE FOR Total Habilities 222,758 ___ 530,203
INTERMENT AND MAUSOLEUMS 9,292 9281
NST ASSETS:
OTHER ASSETS 8,066 6,051 Withont donor restrictions:
Undesignated (78,445) G79)
PROPERTY AND EQUIPMENT — Net of zecunailated depreciation : Decignsted 464,693 480,966
of $207,163 in 2020 and $197,147 in 2019 171,857 178,517 Noncontrolling interest in subsidinrics 5,404 5.954
BENEFICIAL INTERESTS IN PARPETUAL TRUSTS 5,829 6,149 Total without donor restrictions 391,651 388,943
With donor resizictions 116,464 111,583
—— ‘Total net assets S085 __ 500,526
TOTAL $1,037,873 sL030.729 TOTAL $1,037,873 $1,030,729

Ses notes to combined financial statements.

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Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 14 of 41 PagelD 14

ROMAN CATHOLIC ARCHBISHOP OF BOSTON,
A CORPORATION SOLE

Combined Statements of.Financial Position
As of June 30, 2019 and 2018

(in thousands)
ASSETS 2019 2018 -
Cash and cash equivalents:
Pazish operations $ 74,302 $ 76,137
Revolving loan fund 4,704 4,406
Central operations ‘ 4,877 2,504
Insurance operations 1,509 2,852
Parish reco: tion 32 424
Total cash and cash equivalents 85,424 86,323
Interest and dividends receivable, net 2,338 1,896
Prepaid expenses and other assets 18,179 18,575
Accounts receivable, net 5,245 4,784 -
Contributions receivable, net {note 4) 5,573 7,306
Loans and notes receivable, net ote 4) 22,902 24,142
Land and buildings held for sale (note 6) 369 30
Tnvestrnents (note 5) 186,040 198,225
Interest in net assets of a foundation (note 9) 56,335 50,816
Land, buildings and equipment, net (note 6) 552,924 538,623
Total assets $ 935,329 $ _927,720-
LIABILITIES AND NET ASSETS —
LIABILITIES:
Accounts payable and accrued expenses $ 22,084 § 19,535
Agency obligations 4,685 1,447
Reserves for losses (note 10) 9,581 8,614
Due to related organizations 23,120 30,742
Deferred revenue and support 14,874 16,499
Accrued pension and other post-retirement benefits (note 13) 41,826 46,474
Other liabilities 15,251 9,906
Notes payable - related organizations {note 7) 35,082 36,389
Total liabilities 164,503 169,576
Commitments and contingencies (note 11)
NBT ASSETS:
Net assets without donor restrictions 652,327 647,947
Net assets with donor restrictions (note 8) 118,499 410,197
Total net assets 770,826 758,144
Total Habilities and net assets - $ 935,529 927,720

The accompanying notes are an integral part of these combined financial statements.

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CATHOLIC DIOCESE OF ST, PETERSBURG
PASTORAL CENTER

Combined Statements of Financial Position

June 30, 2019 and 2018
2019 2018
Assets
Cash and oash equivalents . $ 6,935,109 18,859,196
Investments: ,
Diocesan investments 65,106,071 49,891,905
Held for others . 92,973,623 95,618,506
Insurance preniums receivable, net 984,448 786,500
Pledges receivable, net 1,558,333 1,415,552
Estates and trusts receivable 3,119,363 * 3,091,412
Loans receivabls - parishes and schools, net 12,941,733 11,900,272
Prepaid expenses and other assets 1,410,076 796,469
Cemetery plots and other inventory 294,428 367,041
Notes and other receivables, net 9,492,362 8,042,375
Land, buildings and equipment, net 31,104,926 31,052,356
Total assets $ 225,920,472 225,821,985
Liabilities and Net Assets
Linbilities:
Accounts payable, accrued expenses and other liabilities $ 5,561,480 5,012,529
Deposits held in trust - parishes and schools 70,155,953 71,034,291
Deposits held in trust - other 22,817,670 22,584,215
Estimated iability for insurance claims $721,211 4,876,610
Annuity obligations 836,292 $78,286
Total liabilities 105,092,606 . 110,385,931
8
Net assets: .
Withont donor restrictions:
Undesignated 10,067,167 10,242,080
Invested in land, buildings and equipment, net 27,929,247. 27,827,187
Designated for specific purposes 57,495,462 $1,760,237
95,491,876 89,830,104
With donor restrictions 25,335,990 25,605,950
Total net assets 120,827,866 115,436,054
Total liabilities and net assets $ 225,920,472 225,821,985

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See accompanying independent auditor’s report and notes to co

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mbined financial statements.

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Case 8:23-Cv-01867-SDM-CPT Document 1 Filed 08/18/23 Page 16 of 41 PagelD 16 -

TEs) Florida Cathelic «= March 2019 Ardudiocate of Miami Finencial Statement

Archdiocese of Miaml Fnsndel Xasement = Mardi 2019 Florida Catholic Be 4

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ARCHDIOCESE OF MIAMI CONDEN

SED FINANCIAL STATEMENTS * YEARS ENDED JUNE 30, 2018, andl 2017 (otarsin thousancs)

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Case 8:23-Cv-01867-SDM-CPT Document 1 Filed 08/18/23 Page 17 of 41 PagelD 17

The Administrative Office of the Roman Catholic Archdiocese of Los Angeles

Consolidated Statements of Financial Position

June 30, 2019 and 2018
a
2019 2018
Without Donor With Donor Without Denor With Donor
Restrictions Restrictions Total Restrictions Restrictions Total
‘Assets (Nota 16)
Cash ard cash equivatents $ 26,888,260 § 4,577,184 31,495,404 §$ 21,806,415 § 10,125,674 31,932,089
Contracts receivable, nat (Note 3) 49,452,973 : 49,452,973 40,987,367 : 40,987,367
Affifate receivables, net (Note 4) 16,282,822 . . 16,282,822 14,820,836 - 14,820,836
Pledges receivable, net (Note 5) - 64,407,081 64,407,081 - 3,407,680 3,407,680
Other receivables (Nete 17) 1,599,170 134,102 1,793,272 2,084,789 89,941 2,154,730
Notes recelvablo, net (Note &) 43,300,775 - 13,200,776 10,189,242 : 10,159,242
Investments (Notes 7, 13 and 18) 629,794,745 76,690,639 605,385,384 §33,053,604 §9,477,348 $52,530,052
Proparties held for sale 46,999 - 46,599 46,999 - 46,699
Property and equipment, net (Notes 2, 8 and 13) 24,351,848 334,897 94,886,742 69,208,410 334,897 69,843,307
Other assets 1,123,768 - 1,128,708 1,183,395 197 1,183,592
Goodwill (Note 2) 26,082,577 - 28,082,677 28,082,577 - 26,082,577
Assets for pansion benefits (Note 9) 6,200,000 - 6,900,000 &,186,000 - 8,186,000
Total assets $ 768,733,864 $ 145,043,673 $ $01,837,737 $ 729,699,534  $ 73,435,737 $ 803.1 35,371
Liabilities and Net Assets (Note 16)
Liabilities:
Accounts payable and accrued expenses (Notes 2 and 10) § 18,912,581 $ - § 18,912,681 § 23,548,311 $ - 23,548,311
” Payable to sffifates (Note 14) 2,871,474 36,044,676 37,716,147 1,848,569 - 1,848,968
Deferred revenue, cemetery and mausoleum care account 6,390,093 - 6,380,003 8,988,038 - 6,988,038
Insurance claims reserves (Notes 13 and 14} 64,609,059 - 64,609,059 64,338,288 “ 64,338,296
Liability for penston and postretirement plan benefits (Note 9) 149,066,000 . 149,066,000 116,379,C00 - 118,379,000
Deferred revenue (Note 12} 163,206,062 - 163,206,062 188,140,457 - 158,140,457
Custodial collections (Notes 14 and 18) 14,008,286 19,580,123 33,885,419 16,978,818 16,267,504 33,246,322
Notes payable (Note 10) 112,574,176 - 112,574,176 © 118,989,780 - 118,969,780
Notes payable to affiliates (Note 11) 9,846,334 - 3,646,334 4,881,458 : 4,881,458
Teotat abilities 634,995,072 64,624,799 §89,609,871 542,073,127 16,267,504 528,340,631
Commitments and contingencies (Notes 10, 13 and 14) '
Net assets (Notes 19 and 20) 221,809,792 90,419,074 312,227,866 217,826,507 57,168,233 274,794,740
Total liabilities and net assets $ 786,793,864 $ 145,043,873 $ 504,837,737 $ 728,699,634 $ 73,435,737 $ 603,135,371

Seo notes to consolidated financial statements.

, *1101,973 108
Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 18 of 41 PagelD is

Chancery Offices of the Archdiocese of Kansas City In Kansas

Statements of Financial Position

June 30, 2018 and 2017
Deposit Property and Heatth/Dental
Current and Loan Plant Cor Christi Liability Insurance Care Plans 2018 2017

Assets
Cash and cash equivalents $ 15,794,926 $ - $ - $ 2,810,306 $ - $ - $ 18,605,232 $ 23,281,999
Investments (Noles 2 and 5) 24,741,782 - - 13,245,963 - - 37,987,725 36,645,045
Accrued interest receivable 87,344 230,504 - - - - 317,848 207,764
Accounts receivable, net 1,839,132 - - - 323,360 2,452,103 4,614,595 6,010,929
Pledges receivable, net (Note 3) 3,436,485 - - - - - 3,436,485 2,234,459
Prepaid expenses 179,681 - - - - - 179,881 333,607
Interest in net assets of the Catholic

Foundation of Northeast Kansas

(Notes 2 and 8) 7,891,047 - - - - . 7,891,047 7,707,864
Loans receivable, net (Note 6) - 30,277,881 - - - - 30,277,884 29,495,468
Land, bulldings and equipment, net

(Note 4) - - 15,748,646 1 - - 15,748,647 15,912,536
Bus to/from other funds (27,986,412) 20,093,318 (3,952,816) (59,570) 727,320 11,178,160 : -

Total assets $ 25,983,965 $ 50601,703  $ 11,795,830 _ _$ 15,996,700 $ 41,050,680 $ 13,630,263 $ 119,059,141 $_ 121,829,688
(Continued)

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Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 19 of 41 PagelD 19

y,, cathoilg diocese
p> of christchurch

* to sanctify ~ bo ksach — to cure for

Statement of Financial Position

- As At 30 June 2018
30 June
2017
Notes ace ‘009

Current Assets

Cash and Cash Equivalents 15,013

Trade and Other Receivables 3 2,052

Inventarles ' 18

Other Hnanctal Assets . ? 44,897
Total Current Assets 61,980
Novr Current Assets

Long Term Recelvables. 5 0

Investment Im Associate 23 4,268

Other Financtal Assets 7 65,915

Property, Plant and Equipment 8 122,971

Intangible Assets 3 35
Total Non Current Assets 493,189
Current Liabilltfes

Trade and other Payables 20 16,915

Provision for Earthquake Rebuild Costs it 1,616 ©

Tncome in Advance 1,920

Borrowings Zz 344
Total Currant Liabilities 44,795
Non Current Liabilities n B23
Net Assets : 239,551
Total Equity a3! 2ah,299e09 230,552

The Diocesan Management & Finance 8aard, an advisory board to the Roman Catholic Bishop of
Christchurch, recammerided that the finanical statements be authorised the Issue, and be so authorised.

tb. MaA7— ss. PASO BS COD

Bishop Paul Martin SM
Bishop of Christchurch
3 October 2018

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Case 8:23- “Cv- -01867-SDM-CPT Document 1 Filed 08/18/23 Page 20 of 41 PagelD 20.
ReaiDicleSE. CF SYDNEY _ '
ACN 119 459 853

ANNUAL FINANCIAL REPORT FOR THE FINANCIAL YEAR ENDED 31 DECEMBER 2018

Statament of cash flows for the financial year ended 31 December 2018

Financial year Financial year

Note ended 31 ended 31
December 2078 December 2017
$ $

Cash flows from operating activities
Receipt of government grants 2;669,122,925 2,648,596,374
Receipt of school levies 115,423,894 108,535,468
interest received 4,054,558 3,530,088
Other operating receipts 3,671,934 3,886,867
Distribution of government grants: . (@, 543,708,368)  (2,424,526,031)
Payments to suppliers {OAS B20.809) (286,731,476)
Net cash (used in)/provided by operating activities 6(b) " (55,726) . 3,291,351
Cash flows from investing activities a
Capital expenditure on Intangibles (WIP) _ . 8 a (14,460). 288,305),
Net cash used in Investing activities (14,460) _____. (3,285,395)
Net {(decrease)/Increase in cash and cash equivalents (70,186) 5,956

. Cash and cash equivalents at the beginning of the financial 910.108 904.152
year _ .
sar and cash equivalents at the end of the financial 6a) 839,929 910,108

Notes to the audited financial statements are iricluded on pages 13 to 31.

$5 27 NG,299

Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 21 of 41 PagelD 21 |
Chancery Office as
The Catholic Archdiocese of Edmonton

Statement of Financial Position

As at December 31, 2018
2038 2017
3 $
Current assets
Cash 2,520,104 3,836,225
Accounts receivable (Note 2) 1,888,867 1,029,769
Prepaid expenses 42,473 48,341
4,451,444 4,914,335
Accounts receivable - due beyond one year (Note 3) $5,397 64,858
Charch building fund receivable (Note 4) 21,983,639 14,925,310
Investments (Note 5) $1,758,159 ___ 59,342,223
78,248,639 79,246,726
Current liabilities
Accounts payable (Note 6) 978,516 939,946
_ Deferred contributions (Note 7) 72,207 171,758
Bank loans (Note 8) 10,645,000 4,945,000
Current portion of mertpape payable (Note 9) 101,700 os
11,797,423 6,056,704
Mortgage payable (Note 9) 1,766,168 =
Notes payable (Note 10) 8,631,758 — 10,173,835
Payable to Edmonton Catholic Cemeteries (Note 11) 27,383,675. 28,234,471
4$,579,024 44,465,010
Net assets
Internally restricted (Schedule 2) 20,197,460 21,149,877
Extemally restricted (Schedule 3) 8,758,646 8,538,158
Unrestricted ’ {286,491} 5,093,681

38,662,615. 34,781,716
78,248,639 79,246,726

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Approved by the Arehbishop | y/ 4 G 5 yO G S

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The accompanying notes form part of these financial statements.

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Ht, Leonard Mitchell Stephanie!
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eR tiatds, Nota:
‘Natijt!
Rikey, Shirley
flaw, John Edward: Sewel, Gecnard 2)

Cramer, Marcus
comnley, Deborah

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-Foigilsow. Ontly: srt . Thompson, luanite
Hendon, Aone = ThempsareConley Angela >
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Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 30 of 41 PagelD 30
Case 8:23-cv-01409-JLB-SPF Document 8 Filed 07/14/23 Page 2 of 59 PagelD 218

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Washington, DU. 20643-0001 a >
oo * Baot,B, Hares ¥ x
, . yo sg ,  Glnrig of tha Coust 2
March 1, 2019 ° tag) ea-foLL F
- Mr, Daryl Sharp
SO30A N- 14th Street
Arlington, VA 22201
Re: Daryl Sharp ‘ . m
v, Timothy Dolan, et al, .
» No. 16-8184
Dear Mr. Sharp:

. tt . . I
The petition for a writ of certiorari in the above entitled case was filbd on
January 28, 2019 and placed on the docket March 1, 2019 as No. 18-8184, ,

oe

A form js enclosed for notifying opposing counsel that the case Was dpskete.

Sincerely,

Scott S, H

Michael Duggan
Cago Analyst

Enclosures

—_ ee °
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Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 31 of 41 PagelD 31
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lll. VENUE IS APPROPRIATE IN THIS COURT BECAUSE

THE CASE CHARGES MASSIVE THEFT OF GOVERNMENT FUNDING
DIRECTED TO THE CATHOLIC ORGANIZATION

(FINANCIAL STATEMENTS ATTACHED ALONG WITH A WRIT OF
CERTIORARI) IN EVERY STATE INCLUDING DELAWARE

MANIPULATION OF THE TEACHING MANUEL THE BIBLE IN
VIOLATION TITLE 18 1091

IV. STATEMENT OF CLAIM

EACH ARCHBISHOP AMONG ALL ARCHBISHOPS AROUND THE
COUNTRY AND THE GLOBE HAVE

ALTERED THE BASIC 66 BOOK COMPOSITION OF THE BIBLE TO
EMBEZZLE OVERNMENT FUNDING FROM

FROM EVERY LOCAL, STATE AND THE FEDERAL GOVERNMENT IN
THIS COUNTRY AND AROUND THE

GLOBE IN VIOLATION OF TITLE 18-1091.

THE ORIGINAL CASE ATTACHED WITH A CONGRESSIONAL STAMP
SHOWS A SAMPLE OF THE

ALTERATIONS AND 47 BILLION DOLLARS IN CATHOLIC FINANCIAL
STATEMENTS WITH POPULATIONS

IN THE CITY IN NO WAY SUPPORT THE UNCONSCIENABLE
EMBEZZLEMENT. THE COURT CASE HAS

FINANCIAL STATEMENTS FROM EACH OF THE DEFENDENTS NAMED
ALONG WITH 3 COURT CASE
Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 32 of 41 PagelD 32
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VICTORIES AGAINST THE VATICAN EMBASSY WITH A CATHOLIC
JUDGE ON THE BENCH.

THE COURT CASE WITH A WRIT OF CERTIORARI DATED MARCH 1,
2019, WAS GIVEN A COURT ORDER

ON SEPT 2019 FOR DISTRIBUTION TO OPPOSING COUNSEL.

THE COVID-19 VIRUS WAS INITIATED DECEMBER 2019, AFTER WE
DELIVERED 6 CASES IN THE 2

MONTH’S AFTER THE SEPT 2019 COURT ORDER WAS GIVEN,
INCLUDING THE ARCHDIOCESE OF BOSTON

WHERE THEY GENERATED A TRESPASS CHARGE BEFORE ENTERING
THE GROUNDS.

EVERY ARCHDIOCESE HAS GENERATED MASS SHOOTING
ATTACKS BY USING THEIR CONFESSION

BOOTHS TO MANIPULATE SIN LADEN PARISHONERS INTO SHOOTING
AT SCHOOLS (ALWAYS PUBLIC),

MOVE THEATERS AND OTHER PUBLIC VENUES ALONG WITH THE
UNITED STATES CAPITOL, JANUARY 6,

APRIL 2 AND AUGUST 2 ALONG WITH THE PENTAGON THE LAST 8
MONTHS ALONE.

THE REASON: A COPY OF THE CONGRESSIONALLY STAMPED
COURT CASE DATED MARCH 14,2014 AND

PLACED IN THE HANDS OF EVERY MEMBER OF CONGRESS AND THE
PENTAGON SINCE THEN OUTLINES

MASSIVE THEFT OF GOVERNMENT FUNDING.

EACH ARCHBISHOPS IS DOING THIS MANIPULATION OF THE BIBLE
FOR THEFT AND ABUSE AND

Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 33 of 41 PagelD 33
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INTIMIDATION OF LAW ENFORCEMENT AND MILITARY PERSONAL BY
DENYING THE SIMPLE

KNOWLEDGE THAT GOD’S NAME IS JEHOVAH, RIGHT ON THE FRONT
COVER OF THEIR BIBLE, COUPLED

WITH THE ABSURD ARCHDIOCESE TOTAL ASSETS TO POPULATION
RATIO, THE USE OF WOMEN TO

FUNNEL GOVERNMENT WELFARE CHECKS THROUGH THEIR
PERSONAL BANK ACCOUNTS INTO THE

CHURCH (TITLE 18 SECTION 1961) AND TITLE 18 SECTION 1091 IS THE
LEGAL WEAPON TO STOP THE

ARCHBISHOPS INCLUDING THOSE LISTED.

ALL ATTACKS INCLUDING THE ONE JANUARY 6 ON THE UNITED
STATES CAPITOL BY DONALD

TRUMP WHO HAS 4 TOWERS ON MANHATTAN REAL ESTATE OWNED
BY TIMOTHY DOLAN, ARCHBISHOP

OF NEW YORK AND THE ARCHBISHOP’S INFLUENCE CAN BE PROVEN,
MOTIVE CAN BE ESTABLISHED

AND MONEY IS THE GOAL.

EVERY ARCHBISHOPDELIVERED A COPY OF THIS CASE RUN SINCE
THISCACSE WAS DOCKETED IN THE

U. S, SUPREME COURT AND THAT WAS BEFORE 47 BILLION DOLLARS
IN CATHOLIC FINANCIAL

STATEMENTS WERE ADDED.

THE ATTACK ON THE U.S. CAPITOL, THE PENTAGON AND THE
COVID -19 VIRUS CAN BE TRACKED

Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 34 of 41 PagelD 34
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BACKED TO ALL ARCHBISHOPS WHO HAVE BEEN LYING ABOUT THE
PURPOSE OF THE BIBLE FROM

JEHOVAHS NAME TO THE HOPE OF A PARADISE EARTH RESTORED
ALL BECAUSE OF THEIR

RITUALISTIC ABUSE OF CHILDREN (TITLE 18 SECTION 2241 ,2242,2243)
THEFT OF GOVERNMENT FUNDING

(TITE 18 SECTION 1961) AND ATTACK ON GOVERNMENT AND
MILITARY INSTALLATIONS (TITLE 18

SECTIONS 930C,2155,2156) AND TERRORIST ATTACKS (TITLE 18
SECTIONS 2332, 2332A,2332C 2332F)

EVERY MAJOR MEDIA NETWORK HAS A COPY OF THIS SUPREME
COURT CASE ALONG EVERY

GOVERNMENT OFFICIAL AND MILITARY GENERAL ON THE PLANET,
HAND DELIVERED AND ARE POISED

FOR JUSTICE.

THIS CASE WILL PROVE JOSE GOMEZ, WILLIAM KOENIG, TIMOTHY
DOLAN AND EVERY CATHOLIC

LEADER ON THE PLANET KNOWS GODS NAME IS JEHOVAH AND THEY
HAVE ALTERED THE BIBLE, THUS

IN VALIDATING THEIR CREDENTIALS AS MINISTERS OF GOD (MY
JOB), THEN THEIR JUST GUYS AND YOU

CAN CONVICT THEM FOR LAUDERING GOVERNMEN FUNDING, MASS
SHOOTINGS ON OUR KIDS’

SCHOOLS AN D OUR NEIGHBORS HOMES ON GOVERNEMNT
OFFICIALS, LAW ENFORCEMENT AND

MILITARY PERSONAL, THE MOTIVE INTIMIDATION, AND TITLE 18
SECTION 1091 LEADS TO THE ENTIRE

Case 8:23-cv-01867-SDM-CPT Document 1 Filed 08/18/23 Page 35 of 41 PagelD 35
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R.LC.O STATUE BEING USED TO CONVICT EVERY ARCHBISHOP IN
THIS COUNTRY AND AROUND THE

GLOBE.

V. INJURIES

6 GUN SHOTS AT POINT BLANK RANGE (3 FEET); 2 TO THE
RIGHT LEG, 2 TO THE LEFT LEG,

1 THROUGH THE LUNGS, 1 TO THE BASE OF THE SKULL

Vi. RELIEF

500 TRILLION DOLLARS PER STATE, ISLAND, RPOVINCE,
COUNTRY AND MILITARY BRANCH OF

SERVICE FROM EVERY CATHOLIC BANK ACCOUNT ON THE
PLANET TO BE RETURNED TO THIS

COUNTRY AND COUNTRIES AROUND THE GLOBE AND THE
TERMINATION OF THE VATICAN AND

THOSE TIED TO IT.

Case 8:23-cv-01867-SDM-CPT Document 1 Filed 08/18/23 Page 36 of 41 PagelD 36
Case 8:23-cv-01409-JLB-SPF Document 8 Filed 07/14/23 Page 8 of 59 PagelD 224

(Del, Rev. 11/24) Pro Se General Complaint Form -

VH. CLOSING

Under Federal Rule of Civil Procedure {1, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation:

(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; and (3) complies with the requirements of Rule 11.

T agree to provide the Clerk's Office with any changes to my address where case-related papers
toay be served. I understand that my failure to keep a current address on file with the Clerk's
Office may result in the dismissal of my case.

F113. Z]
Dated
Sware “Dey M.

Printed Name (Last, First, MI)
W354 Com ao VE Dorie LOW Vv Zz
’ City State Zip Code
| onzte ‘G95! Drey Sapa 1@Grmve, Long
Telephone Number E-mail Address (if available)

List the same information for any additional plaintiffs named, Attach additional sheets of paper
as necessary.

Plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other
materials to the Clerk’s Office with this complaint.

Page 8 of 8

Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 37 of 41 PagelD 37
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RULING UNDER REVIEW

AT ISSUE IN THIS APPEAL IS THE OPINION RENDERED
JANUARY 23, 2020 BY THE HONORABLE AMIT MEHTA UNITED

STATES DISTRICT JUDGE DISMISSING WITH PREJUD:
ICE
NUMBER 19-3848 USING USC 1915 oe

STATEMENT
7 4 Sen
THIS APPEAL IS DESIGNED TO SHOW THE ACCUARCY GE!2 “=
CASE NUMBER 19:3848 NOW 20-7007 BUT WILL PROVIDE: = 3
EVIDENCE WHICH WILL SHOW MOTIVE FOR THE VARIOUS =
CHARGES UNDER TITLE 18 RACKETEERING AGAINST THE
VARIOUS DEFENDANTS. - .

ROUGHLY 5 MELLION DOLLARS HAVE BEEN SUBMITED
AS EXHIBIT A SHOWING 24 ARCHBISHOPS
INCLUDING THE DEFENDANTS SHOWN TAKING 200,000,300,000
400,000 AND IN ONE CASE 500,000 OR MORE EVERY WEEK
FROM THE UNITED STATES GOVERNMENT.

THIS EVIDENCE ALONG WITH EXHIBIT B SHOWING THE 66
BOOKS OF THE BIBLE COMPOSING THE CANON OR CONTENTS
OF ALL BIBLES AND THEIR STRUCTURED CONTENT ALONG
WITH EXHIBIT C SHOWING 3 OF THE 4 BOOKS SUBMITTED
SHOWING THE INACCURACIES IN THEM AND NOT ONLY DO
YOU HAVE CONCRETE EVIDENCE UNDER TITLE 18 SECTION
1091 FOR ALTERATION FOR THE PURPOSE OF THEFT, WITH THE
HORRENDOUS SIZE CHECKS BEING SHIFTED EACH WEEK OUT
OF THE GOVERNMENT EACH WEEK TO THESE AND ALL 541:

ARCHBISHOPS EVERY WEEK, YOU NOW HAVE MOTIVE.

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MOTIVE FOR TERRORIST ATTACKS

SR te
ASE WITH EXHIBITS A ,B, AND C ISINF
DISTRIBUTION 10 EVERY MEMBER OF CONGRESS FOR THEY ==
PAST 9 YEARS STARTING IN 2011 WHEN THE FIRST CASE WAS
FILED ON FEB 22,2011 AND HAS ALSO BEEN DISTRIBUTED TO
940 NATIONS OF THE UNITED NATIONS AND THEIR EMBASSY
COURTESY OF EMBASSY ROW ON MASSACHUSETTS AVE,
CONNETICUT AVD ,NEW HAMSHIRE AVE AND OTHERS IN THE
DISTRICT OF COLUMBIA.

‘ALONG ¥ ON OF CHILD
THIS'ALONG WITH POPE FRANCIS ADMISSI
MOLESTATION ON A SYSTEMIC SCALE ,ON INTERNATIONAL TV

THIS CASE NUMBER 20-7007 IS IN THE WORLD COURT AND

ON THE PLANET.

PLAINTIFF RESPECTFULLY ASKS FOR ALL PRET PER Ss .
DEFAULT JUDGEMENT AT 500 TRILLION a TARY ANH
STATE ISLAND PROVINCE COUNTRY AND
OF SERVICE ON THE PLANET.

Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 39 of 41 PagelD 39

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Case 8:23-cv-01867-SDM-CPT Document1 Filed 08/18/23 Page 40 of 41 PagelD 40

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‘~ COMaITTEE GH enUAANEN

Congress of the Ginter States sary at?
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